Case 2:04-cr-20314-SH|\/| Document 90 Filed 08/10/05 Page 1 of 2 Page|D 124

IN THE UNITED sTATEs DISTRICT coURT FII.ED ay_f‘
FOR THE WESTERN DISTRICT OF TENNESSEE ` D'G

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Cr. NO. 04-20314-D

UNITED STATES OF AMERICA,

Plaintiff,

 

VS.

NANCY WILLIS and
VICKIE HERRON,

9 9 9 9 9 9 9 9 9 9

Defendant.

 

ORDER CONTINUING TRIAL TO SEPTEMBER 19, 2005

 

Upon motion of the defendant, the Court ORDERS that the trial
in this case is continued to September 19, 2005. The Court further
ORDERS that this shall be the final continuance granted and that
the case shall be tried beginning September 19, 2005.

The period from August 8, 2005 through September 19, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of
justice served in allowing the defendants additional time to
prepare outweighs the need for a speedy trial.

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ENTERED this' ii day of Au ust, 2005.

BE NICE B. DON LD
United States District Judge

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Honorable Bernice Donald
US DISTRICT COURT

